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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

    In re:                                             Chapter 11

    YELLOW CORPORATION, et al., 1                      Case No. 23-11069 (CTG)

                          Debtors.                     (Jointly Administered)

                                                       Re: Dkt. 1329


          OBJECTION OF LINK LOGISTICS REAL ESTATE MANAGEMENT
          LLC, BREIT INDUSTRIAL CANYON GA1B01 LLC, GPT ELKRIDGE
        TERMINAL OWNER LLC, GPT DEER PARK TERMINAL OWNER LLC,
       AND GPT ORLANDO TERMINAL OWNER LLC TO MOTION OF DEBTORS
      TO ESTABLISH ALTERNATIVE DISPUTE RESOLUTION PROCEDURES FOR
     RESOLUTION OF CERTAIN LITIGATION CLAIMS AND FOR RELATED RELIEF

             Link Logistics Real Estate Management LLC and its affiliates GPT Orlando Terminal

Owner LLC, GPT Elkridge Terminal Owner LLC, GPT Deer Park Terminal Owner LLC, and

BREIT Industrial Canyon GA1B01 LLC (collectively, “Link Logistics”) hereby object to the

Motion of Debtors to Establish Alternative Dispute Resolution Procedures for Resolution of

Certain Litigation Claims and for Related Relief [Dkt. 1329] (the “ADR Motion”), 2 and

respectfully state as follows. 3

                                     PRELIMINARY STATEMENT

             1.    Link Logistics owns and/or manages the four (4) real property locations described

on the attached Exhibit A (the “Premises”), which are terminals leased by the Debtors pursuant



1
 A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the
Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/YellowCorporation. The location of
Debtors’ principal place of business and the Debtors’ service address in these chapter 11 cases is: 11500
Outlook Street, Suite 400, Overland Park, Kansas 66211.
2
    Capitalized terms used and not defined herein have the meaning ascribed in the ADR Motion.
3
    Link Logistics received an extension of its deadline to respond to the ADR Motion to January 3, 2024.


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to written agreements (the “Leases”). Pursuant to the terms of the Leases, Link Logistics is a

named additional insured under insurance policies maintained by the Debtors (the “Premises

Policies”) with ORIC and other insurance companies (collectively, the “Premises Insurers”).

Some or all of the Premises have property damage for which Link Logistics has claims against the

Debtors under the Leases or against the Premises Insurers under the Premises Policies. In addition,

Link Logistics may have claims against the Debtors under the Leases or against the Premises

Insurers under the Premises Policies for indemnification or for coverage on account of claims by

third parties that are presently unknown. For any such claims, Link Logistics may also have related

claims against other non-debtor third parties.

         2.    All such landlord claims appear to be Litigation Claims under the ADR Motion and

would be subject to the ADR Procedures. For the avoidance of doubt, the Debtors have confirmed

to Link Logistics that this is indeed the intention of the ADR Motion and have declined to clarify

or modify the ADR Motion or proposed order to exclude such landlord claims. This proposed

treatment of landlord claims is not equitable and is not consistent with the requirements of section

365 of the Bankruptcy Code. Nothing in the ADR Motion, which addresses only personal injury

claims and indirect claims against ORIC, has any relevance to such landlord claims or provides

any factual basis or legal support for this proposed treatment. The ADR Motion must be denied

with respect to any landlord claims under or relating to any lease, including but not limited to

claims against the Debtor counterparty under the applicable lease, claims against any potentially

liable non-debtor third parties, and claims under any insurance policy in which the landlord has

direct rights as a named insured (collectively, “Landlord Claims”).

         3.    Moreover, the ADR Motion should be denied because it seeks injunctive relief that

is not available outside of an adversary proceeding. The ADR Motion should also be denied



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because it fails to establish an evidentiary record sufficient to justify the requested extraordinary

relief. The ADR Motion should also be denied because it fails to provide any legal basis for such

extraordinary relief, particularly with respect to the Landlord Claims and landlords being

prohibited from seeking relief from the procedures, having recoveries limited to available

insurance coverage if any, and being required to waive claims against the Debtors and others in

favor of pursuing non-debtor third parties after completing the ADR Procedures. In addition, these

cases do not present the “unusual circumstances” that could warrant extension of the automatic

stay to non-debtor third parties.

                                         BACKGROUND

         4.    On August 6, 2023, the Debtors commenced these cases, and have since continued

to operate as debtors in possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

         5.    The Leases were entered into by certain of the Debtors prior to the commencement

of these cases. The Leases require, among other things, that the Debtors maintain certain insurance

coverage with respect to the Premises and that Link Logistics be an additional insured under such

policies. Copies of the applicable certificates of insurance are attached as Exhibit B. As set forth

therein, Link Logistics and/or its affiliates are additional insureds under policies covering each of

the Premises with ORIC, Travelers Property Casualty Company of America, and/or Illinois Union

Insurance Company.

         6.    On November 1, 2023, the Debtors filed a notice identifying one of the Leases for

rejection [Dkt. 1018]. On November 15, 2023, Link Logistics filed an objection to certain aspects

of the proposed rejection [Dkt. 1148]. As of the date hereof, the Debtors and Link Logistics are

working to resolve the outstanding issues with the proposed rejection without further litigation,

and the other Leases remain subject to the Debtors’ continued sale process. See Dkt. 1403 Exh. 3.



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                                         ARGUMENT

         7.     The proposed ADR Procedures require a broad group of unnamed claimants and

their claims, including landlords with Landlord Claims, to engage in certain noticing and offer

exchange activity followed by mandatory mediation, with no relief possible from such procedures

until the conclusion of the mandatory mediation. Even then, claimants are limited to recoveries

from available insurance coverage if any and may only proceed against such coverage if all claims

against the Debtors, their estates, current and former employees, and their personal assets are

waived. The Debtors provide no evidentiary record whatsoever and no relevant legal authority in

support of this extraordinary relief, which would be manifestly contrary to the requirements of

section 365 of the Bankruptcy Code for Landlord Claims. In addition, these cases do not present

the “unusual circumstances” necessary for a section 105(a) extension of the automatic stay to non-

debtor third parties.

A.       Treatment of Landlord Claims as Litigation Claims is Contrary
         to the Bankruptcy Code

         8.     The ADR Motion defines Litigation Claims to include, among other things, all

claims for “property damage” and any claims related to claims for personal injury, wrongful death

or property damage, whether against any Debtor or against non-debtor third parties, and whether

covered by insurance or not. See ADR Motion at 1, ADR Procedures at 1. This broad definition

appears to subsume all Landlord Claims. For the avoidance of doubt, counsel for the Debtors has

confirmed to counsel for Link Logistics that this is indeed the intention of the ADR Motion (and

have declined to clarify or modify the ADR Motion or proposed order to exclude Landlord

Claims).

         9.     Nothing in the ADR Motion provides a legal basis for treating Landlord Claims in

this manner. As an initial matter, injunctive relief is not available outside of an adversary


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proceeding. See Fed. R. Bankr. P. 7001(7). Further, Bankruptcy Rule 7016 is not applicable to

contested matters, and its authorization for scheduling orders and pretrial conferences in particular

actions before the court, based on the particular issues of that action, cannot be extended to the

injunctive relief or non-consensual claim waivers of the ADR Procedures. Similarly, while

Bankruptcy Rule 9019 allows for the pre-approval of consensual settlements with claimants

through the proposed offer exchange and mediation process, nothing therein authorizes non-

consensual injunctive relief or non-consensual claim waivers. See Fed. R. Bankr. P. 9019(b).

Likewise, the cited Local Rules do not authorize any such relief. See Del. Bankr. L.R. 9019-3,

9019-5, 9019-6. To the contrary, the Local Rules authorizing mediation in contested matters

expressly provide that the assignment of a matter to mediation does not relieve any party from its

other obligations under the Bankruptcy Code, expressly provide for the withdrawal of matters from

mediation by the Court, and expressly provide for parties to seek modifications of any such

procedures. See Del. Bankr. L.R. 9019-5(b), (i). Overall, the Debtors’ string citations do not

appear to stand for anything more than the entirely non-controversial proposition that bankruptcy

courts may compel parties to participate in mediation and may approve settlement procedures.

Nothing therein appears to contemplate, let along provide support for, the non-consensual

injunctive relief and forced claim waivers of the ADR Procedures, let alone as applied to any

Landlord Claims.

         10.    The treatment of Landlord Claims under the ADR Procedures is not consistent with

the requirements of section 365 of the Bankruptcy Code, which among other things requires cure

of defaults prior to assumption or assignment and timely performance of all obligations pending

assumption or rejection. See, e.g., 11 U.S.C. § 365(b)(1)(A), (d)(3). Accordingly, the ADR

Procedures must be denied with respect to Landlord Claims.



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B.       The Proposed Injunctive Relief is Not Warranted

         11.    The Debtors also seek to extend the automatic stay pursuant to sections 105(a) and

362(d) of the Bankruptcy Code to enjoin suits by claimants with Litigation Claims against the

Debtors, their estates, ORIC, all Third-Party Payors, and all Indemnitees. ADR Motion at 4, 14-

15; ADR Procedures at 4.

         12.    As an initial matter, an extension of the automatic stay does not justify prohibiting

claimants, particularly landlords asserting Landlord Claims, from seeking relief from the ADR

Procedures. Extending the automatic stay also does not justify limiting claimants, particularly

landlords asserting Landlord Claims, to available insurance coverage if any. And extending the

automatic stay does not justify requiring claimants, particularly landlords asserting Landlord

Claims, to waive claims against the Debtors and their estates in order to pursue direct claims

against non-debtor third parties after completing the ADR Procedures. Accordingly, even if the

requested extension of the automatic stay was otherwise appropriate – and as discussed below, it

is not – the extraordinary relief requested in the ADR Motion would still be unwarranted.

         13.    Extension of the automatic stay pursuant to section 105(a) of the Bankruptcy Code

is appropriate only in “unusual circumstances” where the interests of the debtor and the non-debtor

are “inextricably intertwined.” A.H. Robins Co. v. Piccinin, 788 F.2d 994 (4th Cir. 1986). While

the requisite unusual circumstances have been found in various situations, this invariably involves

a well-defined set of claims against a well-defined set of non-debtor third parties. The cases cited

by the Debtors do not support their efforts to extend the automatic stay to a broad group of

unspecified Landlord Claims against a broad group of unspecified defendants. 4


4
  The term “Third-Party Payors” is defined as “other insurers and any other third-party payors,” a definition
that subsumes all guarantors and co-obligors or other responsible parties. ADR Motion at 2; ADR
Procedures at 2. No such entities are identified by the ADR Motion. The term “Indemnitee” includes all
non-debtor third parties subject to claims that are covered in whole or in part by the Debtors’ insurance

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         14.     The Debtors also fail to establish that the requisite “unusual circumstances” exist

here. While the ADR Motion baldly asserts that “the Indemnitees (typically the drivers, who were

employees of the Debtors at the time of the accidents)” have the requisite identity of interest with

the Debtors, ADR Motion ¶ 35, these assertions are not evidence even as to claims against drivers,

and certainly are not evidence as to unspecified claims against unspecified third parties. The

Debtors have offered no evidence as to the existence or extent of any indemnification or defense

obligations with respect to any drivers and any Litigation Claims (let alone for other non-debtor

third parties or for the Landlord Claims), and have not offered evidence as to the volume or cost

of the litigation facing the Debtors, the impact of the Litigation Claims (let alone the Landlord

Claims) on available insurance coverage or otherwise on the estates. 5 Indeed, because the Debtors

have not identified with any specificity the universe of Litigation Claims at issue, or the universe

of Third-Party Payors or Indemnitees that will benefit from the extension of the automatic stay, a

finding of “unusual circumstances” as to such claims and parties is not possible.

         15.     The Debtors’ failure to provide an evidentiary basis for the extraordinary relief

requested is particularly problematic given that this is not a first day request for temporary relief

but is a request for a permanent injunction being made five months into these cases. Indeed, under

the circumstances of these cases – where the Debtors are not reorganizing but rather are liquidating


policies or for which the Debtors are liable by contract, bylaws, insurance policies or other agreements, and
includes without limitation “(a) any of the Debtors’ or their predecessor in interest’s current or former
agents, representatives, drivers, or employees; (b) any person indemnified by the Debtors; (c) any person
or entity listed as an additional insured under any of the Debtors’ insurance policies (including, but not
limited to, the ORIC Policies); (d) any current or former direct or indirect parent corporation, affiliates or
subsidiaries of the Debtors; (e) the officers, directors, and or employees of the Debtors or of any such parent,
affiliate or subsidiary; and (f) any other entity or individual sharing coverage with the Debtors.” ADR
Procedures at 1-2.
5
  Notably, prior filings by the Debtors or ORIC have suggested that some or all of the ORIC insurance is
effectively illusory, in that the policy limits are equal to the Debtors’ retention. See, e.g., Dkt 823 ¶ 6
(“Since the policy limits under the [ORIC motor carrier policies] are equal to the Debtors’ retention, all
amounts up to the policy limits are the Debtors’ responsibility.”).

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in a process that has already been massively successful, such that all secured debt will be paid in

full and there will be distributions to unsecured creditors – the Debtors appear fully capable of

defending the Landlord Claims (or other claims) as appropriate, and no extension of the automatic

stay should be necessary.

                                  RESERVATION OF RIGHTS

         16.    Link Logistics reserves the right to amend and/or supplement this objection in the

event that the Debtors brief issues that are relevant to Landlord Claims or provide any legal or

evidentiary support that is relevant to Landlord Claims and the extraordinary relief requested.

                                          CONCLUSION

         WHEREFORE, Link Logistics respectfully requests that the Court deny the ADR Motion

or condition approval of the ADR Procedures on the express exclusion of any Landlord Claims

from such procedures, and grant such other and further relief to Link Logistics as is just and proper.



 Dated: January 3, 2024                        GELLERT SCALI BUSENKELL & BROWN, LLC

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